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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ALABAMA ASSOCIATION OF
 REALTORS, et al.,
                                                        No. 20-cv-3377 (DLF)
     Plaintiffs,

         v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

     Defendants.


                 DEFENDANTS’ EMERGENCY MOTION FOR
        STAY PENDING APPEAL AND IMMEDIATE ADMINISTRATIVE STAY

        Defendants respectfully seek an emergency stay pending appeal of the Court’s order of May

5, 2021, which entered a nationwide vacatur of a temporary moratorium on certain residential evictions

that the Centers for Disease Control and Prevention (CDC) extended through June 30, 2021, as a

critical component of the country’s ongoing fight against COVID-19. See ECF No. 53 (Order), ECF

No. 54 (Mem. Op.). Defendants request that the Court enter an immediate administrative stay to

avoid evictions while the government’s stay motion is under consideration.

        As explained below, the balance of equities overwhelmingly favors a stay. Every court to

consider the question has held that landlords suffer no irreparable injury as a result of the moratorium.

Indeed, Plaintiffs in this case have never attempted to claim irreparable injury stemming from the

CDC Order, and Congress has appropriated $46 billion in emergency rental assistance that benefits

landlords such as Plaintiffs.    By contrast, undisputed scientific evidence shows that evictions

exacerbate the spread of COVID-19, which has already killed more than half a million Americans, and

the harm to the public that would result from unchecked evictions cannot be undone. The balance

of the harms and the public interest thus overwhelmingly favor the government. Finally, although
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Defendants recognize the Court has held otherwise, Defendants respectfully submit that they have a

substantial likelihood of success on appeal, particularly in light of Congress’s ratification of the CDC

Order in the 2021 Consolidated Appropriations Act.

         For those reasons, Defendants hereby move for an emergency stay pending appeal to prevent

evictions that risk an increase in COVID-19 spread, while Defendants’ appeal is under consideration.

See Fed. R. Civ. P. 62(c). Defendants further request that the Court enter an immediate administrative

stay while the Court considers this motion, and to allow the D.C. Circuit time to consider an

emergency stay motion if this Court does not issue one. In the alternative, at a minimum, the Court

should stay its order as to all parties but Plaintiffs—a stay that would cause Plaintiffs no prejudice

while otherwise preserving the status quo as Defendants seek review in the D.C. Circuit.1

                                             ARGUMENT

         In evaluating whether to grant a stay pending appeal, courts consider “(1) the likelihood that

the party seeking the stay will prevail on the merits of the appeal; (2) the likelihood that the moving

party will be irreparably harmed absent a stay; (3) the prospect that others will be harmed if the court

grants the stay; and (4) the public interest in granting the stay.” Cuomo v. U.S. Nuclear Regulatory Comm’n,

772 F.2d 972, 974 (D.C. Cir. 1985) (per curiam). Where the federal government is a party, its interests

and the public interest overlap. See Nken v. Holder, 556 U.S. 418, 420 (2009).

I.       The Balance Of The Harms Overwhelmingly Warrants A Stay Pending Appeal.

         The Court should enter a stay pending appeal because the balance of the harms and related

equitable considerations overwhelmingly favor maintenance of a public health measure that is saving

thousands of lives in the midst of a deadly pandemic. Indeed, Plaintiffs have never claimed to suffer

irreparable injury as a result of the moratorium, despite complying with it since September 2020. By



     1
     Pursuant to Local Rule 7(m), counsel for Defendants conferred with counsel for Plaintiffs
before filing this motion. Plaintiffs oppose the relief requested herein.


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contrast, allowing immediate evictions across the nation will exacerbate the significant public health

risks identified by CDC and recognized by Congress in its legislative extension of the moratorium. See

86 Fed. Reg. 16731, 16733 (2021) (research suggesting that 30-40 million people could be at risk of

eviction absent state and local protections).

        At the outset, every court to consider the question has held that the temporary eviction

moratorium does not cause landlords irreparable harm. See Order, KBW Inv. Props. LLC v. Azar, ECF

No. 16, No. 20-4852 (S.D. Ohio Sept. 25, 2020) (denying temporary restraining order); Brown v. Azar,

No. 20-3702, --- F. Supp. 3d ----, 2020 WL 6364310 (N.D. Ga. Oct. 29, 2020) (denying preliminary

injunction), appeal filed, No. 20-14210 (11th Cir. Nov. 9, 2020), mot. for inj. pending appeal denied, No. 20-

14210 (11th Cir. Dec. 17, 2020); Tiger Lily LLC v. U.S. Dep’t of Hous. & Urb. Dev., No. 20-2692, --- F.

Supp. 3d ----, 2020 WL 7658126 (W.D. Tenn. Nov. 6, 2020) (denying preliminary injunction);

Chambless Enters., LLC v. Redfield, No. 20-1455, --- F. Supp. 3d ----, 2020 WL 7588849 (W.D. La. Dec.

22, 2020) (denying preliminary injunction), appeal filed, No. 21-30037 (5th Cir. Jan. 21, 2021); Dixon

Ventures, Inc. v. HHS, No. 20-1518, 2021 WL 1604250 (E.D. Ark. Apr. 23, 3021) (denying preliminary

injunction).2 As these courts have recognized, the CDC Order does not excuse tenants’ obligations

to pay rent or to comply with other obligations of their leases, and it does not bar landlords from

pursuing state court eviction proceedings as long as tenants are not physically removed while the




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     No court has entered preliminary injunctive relief against the eviction moratorium, and two of
the courts to deny preliminary relief specifically held that plaintiffs were unlikely to succeed on the
merits of any claim that the moratorium is unlawful. See Brown, 2020 WL 6364310, at *6–17; Chambless,
2020 WL 7588849, at *3–12. Three other courts have entered final judgment declaring that the
moratorium is unlawful, but those decisions addressed neither irreparable harm nor the public interest.
See Terkel v. CDC, --- F. Supp. 3d ----, 2021 WL 742877 (E.D. Tex. 2021), appeal pending, No. 21-40137
(5th Cir.); Skyworks, Ltd. v. CDC, No. 20-2407, --- F. Supp. 3d ----, 2021 WL 911720 (N.D. Ohio Mar.
10, 2021); Tiger Lily LLC v. U.S. Dep’t of Hous. & Urb. Dev., --- F. Supp. 3d ----, 2021 WL 1171887
(W.D. Tenn. Mar. 15, 2021), appeal pending, No. 21-5256, mot. for stay pending appeal denied, --- F. 3d ----,
2021 WL 1165170 (6th Cir. Mar. 29, 2021). And none of those courts has purported to enter the
nationwide relief that this Court has ordered here.


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moratorium remains in place. A tenant’s inability to remain current on rent in the midst of the

economic upheaval wrought by the pandemic does not demonstrate that the tenant will be unable to

pay the debt in the future. See, e.g., Brown, 2020 WL 6364310, at *19–20; Chambless, 2020 WL 7588849,

at *14.

          Indeed, as the Brown court anticipated, id. at *20, Congress has now appropriated more than

$46 billion in emergency assistance for rent and rental arrears, see Consolidated Appropriations Act,

2021, Pub. L. No. 116-260, div. N, tit. V, § 501(c)(2) (2020); American Rescue Plan Act of 2021, Pub.

L. No. 117-2, § 3201(a)(1), (d)(1)(A)(i) (2021), much of which landlords are permitted to apply for and

receive on tenants’ behalves.      These appropriations further undermine any assertion that the

government’s pandemic response will cause landlords irreparable harm. Cf. St. Bernard Parish Gov’t v.

United States, 887 F.3d 1354, 1363–64 (Fed. Cir. 2018) (causation analysis must take into account the

benefits as well as the burdens that flow from related governmental actions). And in any case,

monetary injury is “the antithesis of the irreparable harm needed to warrant a preliminary injunction.”

Tiger Lily, 2020 WL 7658126, at *8.

          On the other hand, as federal courts have also consistently found, enjoining temporary

eviction moratoria during a global pandemic is squarely contrary to the public interest. See, e.g.,

Chambless, 2020 WL 7588849, at *16; El Papel LLC v. Inslee, No. 20-1323, 2020 WL 8024348, at *14

(W.D. Wash. Dec. 2, 2020) (concluding that “being forced to leave one’s residence facilitates the

spread of COVID-19, impedes the ability of tenants to self-isolate, and undermines social distancing

directives”—“overriding considerations that weigh in favor of the moratoria”), report and recommendation

adopted, 2021 WL 71678 (W.D. Wash. Jan. 8, 2021); Apartment Ass’n of Los Angeles Cty., Inc. v. City of Los

Angeles, No. 20-5193, --- F. Supp. 3d ----, 2020 WL 6700568, at *11 (C.D. Cal. Nov. 13, 2020), appeal

pending, No. 20-56251 (9th Cir.) (lifting moratoria would “exacerbate a public health emergency that

has already radically altered the daily life of every city resident, and even now threatens to overwhelm



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community resources”); Brown, 2020 WL 6364310, at *22 (“undoing orders deemed necessary by

public health officials and experts to contain a contagious and fast-spreading disease would result in

comparatively more severe injury to the community”); Auracle Homes, LLC v. Lamont, 478 F. Supp. 3d

199, 228 (D. Conn. 2020) (“given the nature of this pandemic, the balance of the equities and the

public interest favor denying a preliminary injunction”). Defendants are aware of no federal court

that has held otherwise.

        CDC’s most recent extension of the order makes plain that the balance of harms continues to

heavily favor the government, and that enjoining the CDC Order would not serve the public interest.

The public health experts at CDC have found that the pandemic remains a significant threat, and the

Order remains necessary to mitigate the further spread of COVID-19. As the March Order explains,

at the time it was issued, “the current number of cases per day remain[ed] almost twice as high as the

initial peak in April 2020 and transmission rates [were] similar to the second peak in July 2020.” 86

Fed. Reg. 16731, 16732. As of the Order’s signing, nearly 70 percent of counties in the United States

were experiencing “high” or “substantial” transmission, and “no counties [were] currently considered

free of spread.” Id. at 16,733. Although COVID-19 vaccines are being distributed, CDC has found

that maintaining COVID-19 precautions “remains critical” if the country is “to avoid further rises in

transmission” and prevent “yet another increase in the rates of new infections.” Id. CDC has also

cautioned that new variants of the virus “show[] increased transmissibility as well as possible increased

mortality.” Id. The agency has found that these “substantial levels of transmission” and “the

emergence of variants” show both “the persistent and dynamic nature of the pandemic,” as well as

“the continued need for protection.” Id.; see also 86 Fed. Reg. 8020, 8021–22 (2021) (January extension)

(describing mathematical modeling and observational data showing that eviction moratoria work to

slow the spread of COVID-19). Indeed, as of the date of this filing, only thirty-two percent of the

nation is fully vaccinated against COVID-19, and the country is still averaging more than 45,000 new



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infections per day—more cases than were recorded in the initial, April 2020 peak. See CDC COVID

Data Tracker, https://covid.cdc.gov/covid-data-tracker (last visited May 5, 2021)

        On the other hand, Plaintiffs’ asserted economic interests, as demonstrated above, will not be

irreparably harmed by the Order’s temporary restrictions. But even if they would be, the public

interest in protecting the health of the population outweighs even serious economic harm. See, e.g.,

League of Indep. Fitness Facilities & Trainers, Inc. v. Whitmer, 814 F. App’x 125, 129 (6th Cir. 2020) (finding

that “[t]hough Plaintiffs bear the very real risk of losing their businesses, the Governor’s interest in

combatting COVID-19 is at least equally significant”); TJM 64, Inc. v. Harris, 475 F. Supp. 3d 828, 840

(W.D. Tenn. 2020) (denying injunction despite finding that plaintiffs would suffer “devastating

economic injury” as a result of COVID-19 closure orders); Tigges v. Northam, 473 F. Supp. 3d 559, 573

(E.D. Va. 2020) (although plaintiff “suffered significant economic hardship due to the COVID-19

pandemic,” economic loss did not outweigh the “urgent need to act to protect . . . health and safety”).

In sum, Plaintiff’s alleged economic injuries “pale[] in comparison to the significant loss of life that

that Defendants have demonstrated could occur should the Court block the Order.” See Brown, 2020

WL 6364310, at *23.

II.     The Government Is Likely To Succeed On The Merits.

        Before CDC issued the order extending the temporary eviction moratorium through June 30,

2021, Congress itself extended the effective date of the order issued by the CDC “under section 361

of the Public Health Service Act (42 U.S.C. § 264),” through January 31, 2021. Pub. L. No. 116-260,

§ 502, 134 Stat. at 2078–79. Defendants recognize that this Court determined that Congress did not

thereby ratify the moratorium as an exercise of the CDC’s authority under § 264, and that this Court

concluded that the moratorium is “unambiguously foreclosed by the plain language of” § 264. Mem.

Op. 19. As the Court is aware, however, other district courts have disagreed and concluded that the

government is likely to succeed on the merits. Thus, notwithstanding this Court’s rejection of



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Defendants’ position, the Court should stay its order in recognition of the significant possibility that

the D.C. Circuit may see the issues differently, as other federal courts have done. See, e.g., Al-Adahi v.

Obama, 672 F. Supp. 2d 81, 83 (D.D.C. 2009) (“While the Court believes that the Memorandum

Opinion speaks for itself in terms of how the case should be decided, it is true that it deals with

complicated issues that represent fair ground for litigation and thus for more deliberative investigation.

Therefore, the Government prevails on the first factor.” (internal quotation marks and citation

omitted)).

        By extending the CDC Order issued “under section 361 of the Public Health Service Act (42

U.S.C. 264),” Consolidated Appropriations Act, 2021, Pub. L. No. 116-260, div. N, tit. V, § 502, 134

Stat. 1182, 2079 (2020), Congress approved the temporary eviction moratorium as an exercise of the

cited statutory authority. Congress did not simply extend the eviction moratorium for a month;

Congress ratified, in express statutory text, the CDC’s authority to issue the eviction moratorium

under § 264. Indeed, Congress’s extension of the order’s effective date would have been a nullity if

the CDC had lacked the authority to issue the order in the first place. And Congress relied on the

moratorium in enacting massive appropriations to pay rent and rental arrears, recognizing that the

moratorium would “help ensure that millions of renters across America are not evicted while waiting

to receive assistance.” U.S. H. Comm. on Fin. Servs., COVID-19 Stimulus Package: Temporary Extension

of the CDC Eviction Moratorium & Emergency Rental Assistance, https://go.usa.gov/xss3y (last visited

May 5, 2021).

        In any case, Congress’s acquiescence in CDC’s exercise of its statutory authority was consistent

with the plain language of the Public Health Service Act (PHSA). The PHSA authorizes the CDC

Director to make and enforce such regulations “as in his judgment are necessary to prevent the

introduction, transmission, or spread of communicable diseases . . . from one State or possession into

any other State or possession.” 42 U.S.C. § 264(a). The second sentence of § 264(a) does not implicitly



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limit this broad grant of authority so as to preclude the issuance of a temporary eviction moratorium.

That sentence includes a list of measures the Secretary “may provide for” “[f]or purposes of carrying

out and enforcing . . . regulations” promulgated under the first sentence, such as “inspection,

fumigation, disinfection, sanitation, pest extermination, destruction of [infected or contaminated]

animals or articles . . . , and other measures, as in his judgment may be necessary.” 42 U.S.C. § 264(a).

That list is not exhaustive, as is clear from its own terms, as well as other subsections of § 264 itself,

which expressly contemplate other exercises of authority. Accord Brown, 2020 WL 6364310, at *8;

Chambless, 2020 WL 7588849, at *5; Independent Turtle Farmers of La., Inc. v. United States, 703 F. Supp.

2d 604, 619–20 (W.D. La. 2010).

        The canon of constitutional avoidance does not counsel otherwise, contra Mem. Op. 14. “Only

twice in this country’s history” (and only in 1935) has the Supreme Court “found a delegation

excessive—in each case because ‘Congress had failed to articulate any policy or standard’ to confine

discretion.” Gundy v. United States, 139 S. Ct. 2116, 2129 (2019) (plurality opinion) (quoting Mistretta v.

United States, 488 U.S. 361, 373 n.7 (1989), and citing A. L. A. Schechter Poultry Corp. v. United States, 295

U.S. 495 1570 (1935); Panama Refining Co. v. Ryan, 293 U.S. 388 (1935)). “By contrast,” the Supreme

Court has “over and over upheld even very broad delegations.” Id. at 2129. Here, section 264(a)

provides the requisite “intelligible principle” to which the agency must conform by permitting only

measures aimed at preventing the introduction, transmission, or spread of communicable disease from

State to State or from foreign countries into the United States. Mistretta, 488 U.S. at 372. And federal

regulation of rental transactions to prevent and interstate epidemic plainly falls within Congress’s

authority to regulate interstate commerce. See, e.g., Jones v. United States, 529 U.S. 848, 856 (2000); United

States v. Comstock, 560 U.S. 126, 134–35, 148 (2010).

        At a minimum, the Court should stay its order insofar as it grants relief to non-parties. As

Defendants have explained, traditional principles of equity and Article III jurisdiction require limiting



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relief to the Plaintiffs, see Defs.’ MSJ, ECF No. 26, at 44–45, and it is axiomatic that “[a] decision of a

federal district court judge is not binding precedent in either a different judicial district, the same

judicial district, or even upon the same judge in a different case.” Camreta v. Greene, 563 U.S. 692, 709

n.7 (2011) (quoting 18 J. Moore et al., Moore’s Federal Practice § 134.02[1] [d], p. 134–26 (3d ed.

2011)). At the same time, Plaintiffs would suffer no prejudice if this Court maintained its order as to

them but stayed it as to all other parties. Therefore, even if the Court does not stay its order in its

entirety, the Court should stay the order as to all regulated persons other than Plaintiffs who brought

suit here.

                                            CONCLUSION

        Defendants respectfully request that the Court stay its order pending appeal and enter an

immediate administrative stay while this motion is under consideration. In the alternative, the Court

should enter such a stay as to all regulated persons other than Plaintiffs.

Dated: May 5, 2021

                                                         Respectfully submitted,

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